Case 3:22-cv-00049-NKM-JCH Document 96-1 Filed 11/15/22 Page 1 of 1 Pageid#: 801




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION
   DOE et al,                                          )
   Plaintiff,                                          )
                                                       ) No. 3:22-CV-00049
   v.                                                  )
                                                       )
   MAST et al,                                         )
   Defendant.                                          )
                                                       )

                          DECLARATION OF ZACHARY ROWEN
                  IN SUPPORT OF MOTION FOR PRO HAC VICE ADMISSION

  Pursuant to the requirements of Local Rule 6(d), I, ZACHARY ROWEN, hereby declare as

  follows:

        1. My full name is Zachary L. Rowen.

        2. I am an attorney at Latham & Watkins LLP. My office address is 1271 Avenue of the

           Americas, New York, NY 10020. My telephone number is (212) 906-4555.

        3. I am not qualified and licensed to practice under the laws of Virginia.

        4. I am qualified and licensed to practice law in the State of New York (NY State Bar No.

           5091715).

        5. I have not been disciplined by any bar.

  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

  correct.

  Dated: November 15, 2022                               /s/ Zachary Rowen
                                                         Zachary Rowen
                                                         Attorney for Plaintiffs
                                                         Latham & Watkins LLP
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